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                       UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS
                              BOSTON DIVISION
___________________________________
                                     :
Stanley Baker,                       :
                                     :  Case No.
            Plaintiff,               :
                                     :
       v.                            :
                                     :
GC Services, LP,                     :
                                     :
            Defendant.               :
___________________________________  :

                                          COMPLAINT

        Plaintiff, Stanley Baker (“Plaintiff”), through his attorneys, Shaevel & Krems, LLP,

alleges the following against Defendant, GC Services, LP (“Defendant”):

                                       INTRODUCTION

        1.      Plaintiff’s Complaint is based on the Fair Debt Collection Practices Act

(“FDCPA”), 15 U.S.C. 1692, et seq.

                                JURISDICTION AND VENUE

        2.      Jurisdiction of this court arises pursuant to 15 U.S.C. 1692k(d), which states that

such actions may be brought and heard before “any appropriate United States district court

without regard to the amount in controversy.”

        3.      Defendant conducts business in the State of Massachusetts establishing personal

jurisdiction.

        4.      Venue is proper pursuant to 28 U.S.C. 1391(b)(2).

                                            PARTIES

        5.      Plaintiff is a natural person residing in Wrentham, Norfolk County,
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Massachusetts.

         6.      Plaintiff is a consumer as that term is defined by 15 U.S.C. 1692a(3), and

according to Defendant, Plaintiff allegedly owes a debt as that term is defined by 15 U.S.C.

1692a(5).

         7.      Defendant is a debt collector as that term is defined by 15 U.S.C. 1692a(6) and

sought to collect a consumer debt from Plaintiff.

         8.      Defendant is a business entity with an office located at 6330 Gulfton, Houston,

Texas.

         9.      Defendant acted through its agents, employees, officers, members, directors,

heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.

                                      FACTUAL ALLEGATIONS

         10.     Defendant, in the ordinary course of business, regularly, or on behalf of itself or

others, engages in debt collection.

         11.     In or around September 2012, Defendant began contacting Plaintiff in an attempt

to collect a debt.

         12.     Upon information and belief, Defendant is attempting to collect a credit card debt

that arises from transactions for personal, family, and household purposes.

         13.     In its collection activity, Defendant places telephone calls to Plaintiff.

         14.     When Plaintiff is unable to answer Defendant’s collection calls, Defendant leaves

voicemail messages. See transcribed voicemail as Exhibit A hereto.

         15.     Defendant’s message informs Plaintiff that it is “important” for Plaintiff to call

314-851-4318. See Exhibit A.

         16.     However, Defendant’s message did not identify Defendant’s business name for
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Plaintiff. See Exhibit A.

        17.     Further, Defendant’s message does not disclose that it is a debt collector. See

Exhibit A.

        18.     Defendant’s message does not provide Plaintiff with any indication as to the

nature or purpose of its call. See Exhibit A.

        19.     Defendant uses deceptive and misleading messages for Plaintiff by not

identifying itself or informing Plaintiff that the purpose of its phone call or that it is an attempt

to collect a debt.

                                              COUNT I

    DEFENDANT VIOLATED THE FAIR DEBT COLLECTION PRACTICES ACT

        20.     Defendant violated the FDCPA based on the following:

                a. Defendant violated §1692d of the FDCPA by engaging in conduct the natural

                     consequence of which is to harass and annoy Plaintiff.

                b. Defendant violated §1692d(5) of the FDCPA by leaving a message(s) that

                     does not meaningfully disclose Defendant’s identity.

                c. Defendant violated §1692e(10) of the FDCPA by using deceptive means in

                     an attempt to collect a debt.

                d. Defendant violated §1692e(11) of the FDCPA by failing to disclose in

                     subsequent communications that the communication was from a debt

                     collector.

        Wherefore, Plaintiff, Stanley Baker, respectfully requests judgment be entered against

Defendant, GC Services, LP for the following:


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       21.    Statutory damages of $1,000.00 pursuant to the Fair Debt Collection Practices

Act, 15 U.S.C. 1692k.

       22.    Costs and reasonable attorneys’ fees pursuant to the Fair Debt Collection

Practices Act, 15 U.S.C. 1692k.

       23.    Any other relief that this Honorable Court deems appropriate.

Dated: January 8, 2013                      RESPECTFULLY SUBMITTED,



                                    By: /s/ David R. Jackowitz

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